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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
       v.                                    :       Case No. 23-CR-231 (ACR)
                                             :
                                             :
CAMERON CAMPANELLA,                          :
                                             :
       Defendant.                            :

                   GOVERNMENT’S MOTION FOR PUBLIC ACCESS
                   TO DEFENDANT’S SENTENCING MEMORANDUM

       On January 19, 2024, counsel for defendant Cameron Campanella provided the

Government with a courtesy copy of his sentencing memorandum and a motion to seal the entire

sentencing memorandum. The government opposes wholesale sealing of Campanella’s sentencing

memorandum. For the reasons detailed below, the government asks this Court to recognize the

qualified public right of access under the First Amendment and the common law to the defendant’s

sentencing memorandum.

                                       Background Facts

       Campanella pleaded guilty to two second-degree misdemeanors, a violation of 40 U.S.C.

§ 5101(e)(2)(D) (disorderly or disruptive conduct on the grounds or in the buildings of the United

States Capitol) and a violation of 40 U.S.C. § 5101(e)(2)(G) (parading, demonstrating, or picketing

in any Capitol building). Sentencing is scheduled for January 23, 2024. On January 8, 2024, the

government filed a sentencing memorandum with various exhibits. On January 17, 2024, the

parties received an email from chambers directing the defendant to submit his sentencing

memorandum on or before January 19, 2024, at 5 pm. Defense counsel did not file anything on

the public docket. Rather, on January 19, 2024, defense counsel emailed the government a copy

of Campanella’s sentencing memorandum, along with a motion to seal the entire memorandum.
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The government believes the public has qualified First Amendment and common law right to

access documents in a criminal proceeding. Accordingly, the government asks the Court to order

the defense to file the defendant’s sentencing memorandum and attachments on the public record.

                    The Public’s First Amendment Qualified Right of Access

       To begin, if something is a judicial record, a “strong presumption in favor of public access”

attaches to it. In re Leopold v. United States, 964 F.3d 1121, 1127 (D.C. Cir. 2020). “[W]hether

something is a judicial record depends on ‘the role it plays in the adjudicatory process.’” In re

Leopold, 964 F.3d at 1128 (quoting SEC v. Am. Int’l Grp., 712 F.3d 1, 3 (D.C. Cir. 2013).

Documents and other materials filed in court that are “intended to influence the court,” are judicial

records. Id. District Judge Royce C. Lamberth provided additional insight in United States v.

Munchel, 567 F. Supp. 3d 9, 14 (D.D.C. 2021).

       The D.C. Circuit has explained that the common-law right of public access to
       judicial records is a fundamental element of the rule of law, important to
       maintaining the integrity and legitimacy of an independent Judicial Branch. The
       importance of the right cannot be understated. It serves to produce an informed and
       enlightened public opinion, safeguards against any attempt to employ our courts as
       instruments of persecution, promotes the search for truth, and assures confidence
       in judicial remedies.

       In United States v. Kravetz, the First Circuit asked whether “advocacy memoranda,

commonly submitted by the parties to the court in advance of sentencing [are] ‘judicial records’

entitled to a common law presumption of access.” United States v. Kravetz, 706 F.3d 47, 56 (1st

Cir. 2013). The First Circuit quickly answered its own question, stating, “[W]e have little doubt

that they are.” Id. The court supported its conclusion by recognizing that “sentencing is an integral

phase in a criminal prosecution” and sentencing memoranda both “are clearly relevant to a studied

determination of what constitutes reasonable punishment” and “are meant to impact the court’s

disposition of substantive rights.” Id. In finding that the public retains a First Amendment right

to disclosure of sentencing memoranda, Judge Kollar-Kotelly similarly found that “sentencing


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memoranda historically have been open to the press and general public.” United States v.

Thompson, 199 F. Supp. 3d 3, 8-9 (D.D.C. 2016) (Kollar-Kotelly, J.) (collecting cases).

       The First Circuit also found that the presumptive right of access “plainly attaches” to

sentencing letters submitted by third parties on a defendant’s behalf. Kravetz, 706 F.3d at 57.

Although these letters are “unguarded,” “informal,” and “frequently emotion-laden,” their

“purpose is not so different” from sentencing memoranda and often are “central to, and serve as

an evidentiary basis for, the defendants’ arguments for leniency.” Id. (cleaned up); see also United

States v. Harris, 204 F. Supp. 3d 10, 15 (D.D.C. 2016) (Judge Kollar-Kotelly concluded “that there

exists a First Amendment qualified right to public access” of addenda to sentencing memoranda).

       Given that the court—rather than a jury—determines the defendant’s sentence, there are

numerous “salutary effects” of public access to the sentencing process and all relevant materials,

including keeping in check the temptation by any party “to seek or impose an arbitrary or

disproportionate sentence,” to “promote accurate fact-finding,” and to “stimulate public

confidence in the criminal justice system by permitting members of the public to observe that the

defendant is justly sentenced.” Kravetz, 706 F.3d at 57 (collecting cases). The right is, however,

qualified. Where a party asserts an exception to the right of public access, “the decision as to

access to judicial records is one best left to the sound discretion of the trial court, a discretion to

be exercised in light of the relevant facts and circumstances of the particular case.” United States

v. Hubbard, 650 F.2d 293, 316-17 (D.C. Cir. 1981) (cleaned up). A six-part Hubbard test is

discussed in greater detail below. Since “[c]ourts have an obligation to consider all reasonable

alternatives to foreclosing the constitutional right of access,” “[r]edaction constitutes a time-tested

means of minimizing any intrusion on that right.” In re Providence Journal Co., 293 F.3d 1, 15

(1st Cir. 2002).




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                                  The Sentencing Memorandum

       In this case, Campanella’s sentencing memorandum, his allocution, and the character

letters should be posted to the public docket. The government has no objection to redacting

Campanella’s home address (page 8 of his sentencing memorandum) from the version filed on the

public docket. Similarly, the government has no objection to redacting the names and home

addresses of those who submitted character letters in support of Campanella. Finally, should the

defendant identify additional discrete portions of his sentencing memorandum, allocution, or

letters of support, the government agrees to work with defense counsel to determine whether those

portions should also be redacted from the public filing.

       In his motion to seal, Campanella asserts that his submission contains “sensitive

information, not suitable for public disclosure.” He does not specifically identify which portions

of his sentencing memorandum or the letters contain sensitive information, and provides no legally

sound justification to redact the submission in its entirety.

       In determining whether a document should be sealed, courts consider (1) the need for

public access to the documents at issue; (2) the extent of previous public access to the documents;

(3) the fact that someone has objected to disclosure, and the identity of that person; (4) the strength

of any property and privacy interests asserted; (5) the possibility of prejudice to those opposing

disclosure; and (6) the purposes for which the documents were introduced during the judicial

proceedings. United States v. Hubbard, 650 F.2d 293, 317-22 (D.C. Cir. 1980).

       As to the need for public access, Campanella committed crimes during an insurrection at

the United States Capitol. He submitted the sentencing memorandum, a letter of allocution, and

character letters for the Court to consider in mitigation of his crime. It is the government’s position

that this factor weighs in favor of public disclosure. The strength of the privacy interest is weak,




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which cuts in favor of public disclosure. Indeed, much of the sentencing memorandum discusses

things that are already on the public record, including a discussion of Campanella’s criminal

conduct and the procedural history of this case. There is a possibility of prejudice to the

government given that many hundreds of defendants are currently charged and awaiting trial or

sentencing on their cases related to their conduct on January 6, 2021. If the Court allows wholesale

redactions of sentencing materials from the public for Campanella, future defendants may attempt

to stretch the boundaries of such non-disclosure. See Friedman v. Sebelius, 672 F. Supp. 2d 54,

60 (D.D.C. 2009) (Urbina, J.). Moreover, it is important for the public to have access to what

defendants submit are mitigating factors so that the public, defendants, attorneys, and Judges in

future cases can appropriately analyze sentencing disparities. The government faces prejudice if

January 6 defendants are allowed to submit sentencing arguments and numerous character letters

that are fully sealed from public access without justification or legal reasoning. Finally, the

defendant relies heavily on the narrative presented by his sentencing memorandum, his allocution,

and the character letters to counter his unlawful actions while at the U.S. Capitol on January 6. On

balance, the Court should find that Campanella has failed to overcome the qualified right of access

to the sentencing memorandum and its attachments, and they should be filed publicly. See, United

States v. Beddingfield, 22-cr-66-CJN, July 31, 2023, Minute Order (Ordering the Clerk to “unseal

and lodge on the public docket” the defendant’s sentencing memorandum and five exhibits to the

memorandum).

                                         CONCLUSION

       For the foregoing reasons, the government asks this Court to recognize the qualified public

right of access under the First Amendment and the common law to the defendant’s sentencing

memorandum and its attachments, with narrowly tailored redactions to home addresses and the

names of those who submitted character letters. Finally, should the defendant identify additional


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discrete portions of his sentencing memorandum, allocution, or letters of support, the government

agrees to work with defense counsel to determine whether those portions should also be redacted

from the public filing.

                                            Respectfully submitted,

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